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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION

      ERIN TONKYRO,
      DANA STRAUSER,
      KARA MITCHELL-DAVIS,
                                                                        Case No.:8:16-cv-2419-t-36AEP
            Plaintiffs,

      v.

      DAVID J. SHULKIN, MD, Secretary,
      DEPARTMENT OF VETERANS AFFAIRS,

          Defendant.
      ________________________________________/


           MOTION TO AMEND COMPLAINT AND TO ADD ADDITIONAL PLAINTIFF

            Plaintiffs Erin Tonkyro, Dana Strauser, and Kara Mitchell-Davis move this court for

      leave to amend their First Amended Complaint pursuant to Federal Rules of Civil Procedure

      15(a) and 20 to add and join Yenny Hernandez as an additional Plaintiff in this case. The

      Second Amended Complaint is attached as Exhibit A. 1 It also reflects that David J. Shulkin,

      M.D. is now the Secretary of Department of Veterans Affairs, cleans up a couple of typos,

      separately identifies the specific claims relating to each plaintiff, and sets forth the facts

      showing conformity with the cited Rules.


                                                       Background


               1.   The Plaintiffs Tonkyro, Strauser, and Davis originally filed their complaint in

      Federal Court on August 23, 2016 (Doc. 1). The Defendant answered on November 28, 2016

      (Doc. 16). On December 14, 2016, the Parties jointly filed a Case Management Report (Doc.


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    Given its length, Exhibit B contains the more significant additions in bold.

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  18).   On page 1 of the Case Management Report, the parties agreed that “Motions to Add

  Parties or Amend Pleadings [Court recommends 1-2 months after CMR meeting]” would have

  a deadline of March 31, 2017. On December 19, 2016, the Plaintiffs filed their first Amended

  Complaint. The claims are based on retaliation under Title VII, hostile work environment

  based upon retaliation, and for injunctive relief (Doc. 19).     The Court entered a Case

  Management and Scheduling Order on December 22, 2016. (Doc.20) On page 1 of this Order

  it provided that there would be a March 31, 2017 deadline for “Motions to Add Parties or to

  Amend Pleadings”.

         2.   During a significant portion of the time frame contained in the Complaints, Ms.

  Hernandez, a coworker of the Plaintiffs under the same supervisors as the Plaintiffs,

  experienced sexual harassment, a hostile work environment and retaliation for opposing those

  actions. She filed Equal Employment Opportunity (EEO) claims informally on July 28, 2016

  and her formal complaint of discrimination on September 8, 2016. However, it could have

  been argued she had not exhausted her administrative remedies because the 180 days had not

  passed. This also allowed the Defendant to be involved in, and become familiar with her

  administrative complaint. At the time of the Case Management Conference, we informed the

  AUSA handling the Federal Complaint that we would be moving to add Ms. Hernandez.

  Counsel said he would review her claims and let us know his position on joinder. The 180

  days passed in early March and on Friday, March 17, 2017 he advised the undersigned he

  would object because after reviewing the Report of Investigation (ROI) he believes the claims

  are not substantially similar.

                                          Discussion




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         3.   Rule 20 of the Federal Rules of Civil Procedure allows the joinder of parties if the

  Plaintiffs assert any right to relief jointly, severally, or in the alternative with respect to or

  arising out of the same transaction, occurrence or series of transactions or occurrences; and

  any question of law or fact common to all Plaintiffs will arise in the action. Plaintiffs and Ms.

  Hernandez have worked together for years as ultrasound technologists in the James A. Haley

  VA Hospital Radiology Department. See ¶s 4-7 of the Second Amended Complaint (SAC).

  They have had the same supervisors. Id.

         4.    The original three Plaintiffs and Ms. Hernandez assert rights to relief arising out

  of the same transactions, occurrences, or series of transactions or occurrences and there are

  questions of law or fact common to all Plaintiffs which will arise in this action.

         5.   The Eleventh Circuit has addressed Rule 20 in a discrimination case in Alexander

  v. Fulton County, GA, 207 F.3d 1303 (11th Cir. 2000) overruled on other grounds, Manders v.

  Lee, 338 F.3d 1304 (11th Cir. 2003). Alexander formed the basis of a Southern District of

  Florida decision to deny severance in a discrimination case. See e.g., Beckford v. Dept. of

  Corrections, Fla., (2008) WL 8192939 [* 2-3] (S.D. Fla. 2008). In Alexander the court

  addressed specific language of the rule, its central purpose, notions of judicial economy and

  the Supreme Court’s desire that lower courts employ a liberal approach to permissive joinder

  of claims and parties in the interest of judicial economy. Id. at 1323. It noted that the phrase

  transaction or occurrence under Rule 20(a) looks to “logically related events”. Id.. The court

  noted that in discrimination cases, allegations of a “pattern or practice” of discrimination

  describe logically related events. Company practices provide that logical relationship. Such

  an allegation is in ¶8 of the SAC and reflected in its subsequent paragraphs. These will be

  discussed further below.



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         6.   The second prong of Rule 20 relating to common questions of law or fact the

  court notes that in discrimination cases, courts “have found that the question of the

  discriminatory character of the Defendants’ conduct can satisfy the commonality requirement

  of Rule 20.” Id. at 1324. The retaliation and hostile work environment arise under Title VII

  and satisfy the second prong of Rule 20. See e.g., Alexander at 1324.

         7.   The original three plaintiffs and Ms. Hernandez all allege that they were retaliated

  against by Radiology Service management which was over the Ultrasound Department in

  which they all worked. Supervisors who are the subject of their complaint are the same. The

  time period for the original plaintiffs’ claims is longer than Ms. Hernandez’ time period, but,

  for a substantial period when it was happening to Ms. Hernandez, it was also happening to the

  three original plaintiffs. See ¶s 19 to 32 of the SAC. The retaliation in all their cases is for

  EEO activity. It is alleged that at one point EEO activity in each of their cases involved

  opposing sexual harassment. Indeed, it is alleged the original three Plaintiffs opposed Ms.

  Hernandez’ harassment. See EEOC Enforcement Guidance on Retaliation and Related Issues,

  No. 915.004 II B Opposition (August 25, 2016) p.8-9 of 57, which provides in part:

         . . . [A]n individual is protected from retaliation for opposing any practice
         made unlawful under the EEO laws. Protected “opposition” activity broadly
         includes the many ways in which an individual may communicate explicitly or
         implicitly opposition to perceived employment discrimination. The manner of
         opposition must be reasonable, and the opposition must be based on a
         reasonable good faith belief that the conduct opposed is, or could be unlawful.

         8.   It is also alleged that EEO activity includes participation in their own and others

  filed claims. Id. § II A1 Participation p. 7 of 57 which provides in part:

         . . . An individual is protected from retaliation for having made a charge,
         testified, assisted, or participated in any manner in an investigation,
         proceeding, or hearing under Title VII, the ADEA, the EPA, the ADA, the
         Rehabilitation Act, or GINA. Participation may include, for example, filing or



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           serving as a witness in an administrative proceeding or lawsuit alleging
           discrimination.
           9. The hostile work environment claims also have a logical relationship to each

  other.


              Brief History When Only Three Original Plaintiffs Had Filed Claims

           10. In 2011 and 2012 six women claimed they had been sexually harassed by

  Radiology management, specifically John Bennett and, in all but one case, Dr. Joseph Parise.

  They also maintained that supervisor, Jeri Graham, aided and abetted that harassment and

  supervisory management above those three were told about what was going on and not only

  failed to stop it, but took steps to cover it up. While all opposed the harassment, only five

  brought EEO actions. Each of those five brought EEO actions alleging inter alia, retaliation.

  Each of those five faced retaliation. Four, including the original three Plaintiffs, filed actions

  in 2012, the fifth in 2013. The 2012 cases of the four were combined and settled for damages,

  attorneys’ fees and corrective actions in September, 2013. One of those four left the VA

  because of the harassment before the case was resolved, but continued her case until

  settlement. The three original plaintiffs in this case remained at the VA and along with the

  fourth moved forward with their cases to settlement. The retaliation allegations in their case

  involved, inter alia, interference with their ability to perform their jobs, verbal threats,

  accompanied with threats of physical harm and other harm, impairment of career and a

  consistent effort to undermine the legitimacy of the Plaintiffs actions and portray them as

  employees who were making malicious claims.            Their reputations were impugned with

  individuals within the Radiology Service, the broader facility and with some people outside

  the facility.




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         11. Following the settlement of those cases, retaliation which formed the basis of the

  current case, began almost immediately. Management, as they had done when investigating

  the original complaints of harassment, failed to undertake good faith investigations and

  actions they maintained they would take as a result of the settlement agreement. See ¶s 18

  and 19 of the SAC. For example, the alleged investigation into comments and threats made

  by Dr. Parise reported by a radiology physician were found not to be actionable based on an

  investigation in which the physician who heard Dr. Parise’s threats was purported to have said

  things which were quite materially contradicted by what he said before. It also contradicted

  sworn testimony the physician gave about what Dr. Parise said and as well as what he said he

  told the investigator. The investigator did not record or have the physician sign or agree to the

  statement. We are left with the uncorroborated statement of a single employee, who is

  subordinate to the upper management officials overseeing the Radiology Service.              We

  obtained this statement by compulsory discovery processes.           Even more troubling, the

  settlement agreement, which was supposed to be confidential, was disclosed to an individual

  who will be discussed extensively under Ms. Hernandez’ case. The circumstances of that

  disclosure suggest that the settlement was broadly discussed as part of an effort to disparage

  the Plaintiffs and portray them as gold diggers. During this time the Plaintiffs continued to

  hear statements that they were being portrayed as people who would never get over their case

  and had done it for money. See ¶ 17 of the SAC.

         12. More troubling, the fact that the Plaintiffs had engaged in EEO activity was

  placed on a facility wide intranet site so that many employees could see selective documents

  which reflected that they engaged in EEO activity and we believe this was done to place them

  in a bad light of accusing those employees of having bad motives in undertaking their EEO



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  cases. 2 See ¶ 20 of the SAC. Written counselings which the settlement agreement required

  the Agency to remove and completely expunge from the files relating to Davis and Strauser

  were also disclosed on the intranet as were other documents many of which were found by the

  VA Privacy Office to have been privacy protected documents. The Privacy Office ordered

  radiology to conduct an investigation. That investigation was in fact conducted by John

  Bennett who made statements through a letter he prepared for the Radiology Service Chief

  (Stenzler) to Privacy concerning the results of that investigation. It included alleged findings

  by an employee Radiology claimed did the investigation. Discovery depositions disclosed

  that the statements Bennett had Stenzler send to Privacy reflecting the conclusions of the

  employee were contradicted by the individual alleged to have conducted the investigation.

  See ¶21 of SAC. It has also been discovered that Bennett who was supposed to be removed

  from the chain of command of the Plaintiffs was actually promoted and regularly meets with

  the supervisors of the Plaintiffs, including Jeri Graham and Scott Petrillo.

          13. After settlement, Plaintiff Tonkyro was told by the Service Chief of Radiology

  (Stenzler) that she could not receive promotions and that upper management would never

  place her in supervisory positions. See ¶ 28b of SAC. Subsequently, positions have been

  approved which would have resulted in promotions and the Plaintiffs have been denied those

  promotions and been provided with one contradictory reason after another. See ¶s 28, 29 and

  30 of SAC. Moreover, the Plaintiffs have been placed in a hostile environment where the

  ultrasound department was understaffed and the Plaintiffs, because of their experience and

  abilities were relied upon to do a great deal of work to make up for both staffing deficiencies

  and also hiring decisions which did not involve hiring people knowledgeable about ultrasound

  2
   The disclosure of documents reflecting EEO activity was found to be evidence of retaliation in Mogenhan v.
  Napolitano, 613 F.3d 1162, 1166 (D.C. Cir. 2010) and Halliburton, Inc. v. Administrative Review Board., 771 F.3d
  254 (2014).

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  activity which panels recommended should be hired. Id. Not surprisingly, the Plaintiffs have

  been implicated in resulting problems. See ¶s 24-27 of SAC. It also alleged bringing sexual

  harassment of other ultrasound technologists to the attention of supervisors who failed to

  address it while continuing to disparage the Plaintiffs. That involved Hernandez although her

  name was not used in the Complaint. The overall environment has become problematic and

  hostile.

                              The Second Amended Complaint (SAC)

             14. The SAC realleges the post settlement retaliation of the original Plaintiffs and

  adds Ms. Hernandez.         See ¶ 31 of the SAC.       Ms. Hernandez, who had provided a

  December30, 2014 affidavit in Davis’ case, began to experience sexual harassment from an

  employee management brought in, and when she opposed the harassment, she was retaliated

  against, and held in a bad light by management. Given the understaffing in ultrasound, Ms.

  Hernandez was also exposed to increased stress because she had to perform extra work. This

  was compounded by the fact the supervisor of ultrasound, Petrillo, had no experience with

  ultrasound, and could not or did not address the issues that came up. Moreover, Petrillo

  favored male technologists hired after Hernandez who had an impaired ability to fully perform

  their portion of the responsibilities. Given the understaffing and Petrillo’s preference of those

  males, Ms. Hernandez as well as the original Plaintiffs, experienced a much more problematic

  work environment.

             15. Davis, who is the lead technologist and far more experienced in ultrasound than

  Petrillo or any other supervisor above him, was on committees which recommended the hiring

  of various ultrasound technicians. It also rejected certain ultrasound technicians that did not

  have the capability to do the job. Management ignored her and the panel recommendations to



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  hire certain individuals and instead, without advising Davis or other members of ultrasound,

  hired someone their panel had previously rejected. That person repeatedly boasted to several

  people of having a relationship through her mother with Jeri Graham. That person is Angela

  Geraci DeSimone, hereinafter referred to as “AG”.

          16. Shortly after she was hired, AG proceeded to engage in repeated sexual

  harassment of Hernandez and when Hernandez complained, management did nothing to stop

  it.   AG not only continued that harassment, she harassed her in other ways, including

  bullying. See ¶ 31 of the SAC. AG also admitted that she was unable to do important

  ultrasound scans which need to be done in a Veterans Hospital. She developed a hostile

  relationship with Hernandez, often ignored her, bullied her, and interfered with her

  (Hernandez) ability to perform her own job. As had happened to the original Plaintiffs, when

  these matters were brought to management, management not only failed to address them, they

  allowed AG to continue to harass and bully Ms. Hernandez. When objections to the treatment

  of Hernandez were being made by the original Plaintiffs and Hernandez was sending emails

  documenting her difficulties, management, as they had done with the original Plaintiffs,

  instituted an AIB to investigate the hostile work environment that had been created by the

  Plaintiffs against AG. 3 See ¶31 ff to hh and jj of the SAC. AG was moved to New Port

  Richey where her mother is located, a desirable relocation, even though she would be the only

  ultrasound technician there and she is not competent to be on her own.                            Management

  recognized that she was not competent to do many different ultrasound scans by herself and

  told the Plaintiffs that they would have to do those exams even for New Port Richey patients.

  That created difficulties for all of them in their work.


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    We have not been provided a copy of that investigation at this point in time. We expect it will be fairly
   provided when we receive responsive discovery.

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          17. In addition to the allegations made by the original Plaintiffs discussed above, all

   four Plaintiffs have alleged that the retaliation included: members of management using

   various means to undermine the plaintiffs’ ability to perform their jobs; management hiring

   supervisors over ultrasound who have no knowledge or experience with ultrasound procedures

   or techniques while ignoring competent experienced persons who sought the supervisor

   positions; management allowing ultrasound to be short staffed; management hiring

   incompetent technologists to work in ultrasound despite prior decisions by ultrasound

   technologists and hiring panels which has resulted in a greater workload increased stress and a

   problematic work environment which has fallen primarily on them; management refusing to

   address their concerns and instituting administrative investigations to look into hostile work

   environments that they supposedly created by raising these concerns; management giving

   each (except Tonkyro) improper counselings, or improperly disclosing them; management

   portraying them as trouble makers; and management harming their reputations. Each alleges

   that when they opposed what was going on, their concerns were not addressed in good faith

   and management engaged in an effort to victimize the victims. Management hired AG, who

   not only caused problems for Hernandez, Strauser and Davis, she sexually harassed, bullied

   and otherwise harassed Hernandez and when each complained to management, nothing was

   done. AG spread rumors that the original three Plaintiffs’ settlement was for over one

   hundred thousand dollars; and, just like management, AG accused the Plaintiffs of bad

   motives in bringing the case. AG also made disparaging remarks to Hernandez about Davis,

   Strauser and Tonkyro.      Hernandez learned AG was spreading those rumors to other

   employees.




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           18. As to common issues of law, each of their cases arises under Title VII of the Civil

   Rights Act of 1964 42 U.S.C. § 2000e et seq. including 42 U.S.C. § 2000e(16). As to

   common issues of fact, each requires determination as to whether the same managers in

   overlapping timeframes engaged in retaliation and a hostile work environment. In Hernandez’

   case the hostile work environment is based upon sex and retaliation. In fact, Strauser and

   Davis and to a lesser extent Tonkyro are witnesses to a number of the events of which Ms.

   Hernandez complained. Ms. Hernandez is a witness to events of which they complained.

   They each complain of the failure of supervisors over the Ultrasound Department to address

   their complaints of a hostile work environment.                  Each complained that Petrillo, at the

   instigation of upper management, hired AG who was incompetent. As mentioned AG had

   previously been interviewed by a panel consisting of knowledgeable members of ultrasound

   and rejected as an applicant. Since coming on AG has proved incapable of performing

   numerous vital ultrasound exams. Management has made her inability a problem for each of

   the plaintiffs by requiring them to not only perform additional work to cover for her, but to

   train her. AG has also sexually harassed Hernandez and bullied her. Davis, Strauser and

   certain other employees have observed portions of this as well as management’s refusal to

   address her complaints and the effect that has had upon her. 4

           19. This is not a case where the plaintiffs have different supervisors, are in different

   department or services, or in different states. In addition, the retaliation alleged did not occur

   in time periods which did not overlap. Cases like Grayson v. K-Mart Corporation, 849 F.

   Supp. 785 (N.D. Ga. 1994) are inapplicable. While Hernandez has a basis for her hostile

    4
     Exhibit C is the counselor’s Report of Investigation (ROI) in the Hernandez investigation. The court will note
    that Davis and Strauser are identified as providing information on a number of claims that are raised by Ms.
    Hernandez. The court may also wish to note that after management provided its denials or reasons for
    actions or a lack thereof, the ORM investigator concludes “Complainant refuted management’s response and
    reiterated her testimony.” P.0103 (Emphasis added.)

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   work environment which includes sexual harassment as well as retaliation, that does not

   impair joinder. While one might argue that creates more commonality to the Plaintiffs, it is

   not necessary because numerous cases recognize there does not have to be absolute identity of

   all events or basis. See e.g., Moseley v. General Motors Corp., 497 F.2d 1330, 1333 (8th Cir.

   1974) (two race only plaintiffs and eight race and sex plaintiffs were joined); Elliott v. USF

   Holland, Inc., 2002 WL 826405 [*2] (S.D. Ind. 2002) (three plaintiffs had age based claims

   and could be joined even though one also had disability); Castillo v. Lennar Corp., 2008 WL

   4425298 [*1,2] (S.D. Tex. 2008).

          20. There can be no unfair prejudice to the Defendants. Conversely, if separate trials

   went forward, judicial economy would be a victim. Each of the plaintiffs would end up

                                                                                                  th
   testifying in the cases of the other. See Goldsmith v. Bagby Elevator, Co., 513 F.3d 1267 (11

   Cir. 2008). The combined length of each of those cases would dwarf a single trial. The

   expense of that would unfairly impact the Plaintiffs.

          21. Ms. Hernandez and the Plaintiffs all assert hostile work environment claims based

   on retaliation for EEO activity. As will be discussed, this provides another reason for joinder.

   Similarly, each asserts that some of the retaliation against them occurred in part as a result of

   third party retaliation against each of them as a result of the EEO activity of the other, or by

   themselves. (¶ 32 of SAC and numerous other paragraphs reflect this.) See Thompson v.

   North American Stainless, L.P., 562 U.S. 170, 131 S. Ct. 863 (2011) (third party retaliation

   states cause of action). The hostile work environment also includes the discriminatory or

   retaliatory acts taken against each of them as set forth in paragraph 8 of the Second Amended

   Complaint.    In Hicks v. Gates Rubber Co., 833 F.2d 1406, 1415-1416, (10th Cir. 1987) the

   court discussed the question of whether incidents of harassment directed at employees other


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   than the Plaintiff can be used as proof of the Plaintiff’s claim of a hostile work environment

   and concluded that:

       The answer seems clear: one of the critical inquiries in a hostile environment
       claim must be the environment. Evidence of a general work atmosphere
       therefore – as well as evidence of specific hostility directed toward the Plaintiff
       – is an important factor in evaluating the claim. Indeed, “such evidence could
       be critical to a Plaintiff’s case, where a claim of harassment cannot be
       established without a showing of the isolated indicia of a discriminatory
       environment.” [citation omitted].

   This has been widely accepted by federal courts including the Eleventh Circuit. See Walker v.

   Ford Motor Company 684 F.2d 1355, 1359 (11th Cir. 1982) (recognizing that harassment

   need not be directed at the Plaintiff to create “a working environment heavily charged with

   ethnic or racial discrimination.”); Sousa v. Bay Shore Development Corporation, 1994 U.S.

   Dist. LEXIS 10984, *12 (S.D. Fla. 1994) (“the Eleventh Circuit and many other federal courts

   have consistently allowed Plaintiffs to sue under Title VII for harassment not directed at the

   Plaintiff, but directed at members of the Plaintiff’s protected class in the Plaintiff’s presence.);

   Hernandez v. Valley View Hospital Association, 684 F.3d 950, 959 (10th Cir. 2012)

   (“derogatory comments need not be directed at or intended to be received by the victim to be

   evidence of a hostile work environment”; since the “totality of the circumstances” is “the

   touchstone of a [hostile work environment] analysis, “evidence of a general work atmosphere,

   including evidence of harassment of other racial minorities may be considered in evaluating a

   claim, as long as [the Plaintiff] presents evidence that [she] knew about the offending

   behavior.”); Tademy v. Union Pacific Corporation, 614 F.3d 1132, 1146 (10th Cir. 2008)

   (“evidence of a general work atmosphere, including evidence of harassment of other [racial

   minorities], may be considered in evaluating a claim,” as long as the Plaintiff presents

   evidence that he knew about the offending behavior.) See also Goldsmith v. Bagby Elevator



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   Co. Inc. 513 F.3d 1267, 1286 (11th Cir. 2008) (Plaintiff’s “me too” evidence was also

   admissible under Rule 402 as relevant to his claim of hostile work environment since “this

   testimony goes directly to the issue of racial harassment on the job” and the evidence

   “established the recurrent use of racial slurs by employees of [the Defendant] and proved that

   any black employee who complained about racial discrimination was treated differently by

   supervisors and was ultimately terminated.”) The claims of the four Plaintiffs are inextricably

   intertwined and involve the same work environment and supervisors during the same basic

   time period.

          22.     Each plaintiff alleges the retaliation claims by the same responsible management

   officials (RMOs).     Those claims include direct retaliation against each and third-party

   retaliation as a result of the EEO activity of the other Plaintiffs. Each Plaintiff and Ms.

   Hernandez was familiar with the hostile work environment involving the other Plaintiffs and

   the RMOs treatment of them contributed to each of their hostile work environment claims.

   This provides yet another reason the claims arise from the same series of the transactions and

   occurrences and have the same questions of law or fact.

          23. After a responsive complaint or pleading has been served, the standards for

   deciding a motion to amend a complaint or add a party are the same under Rule 15 or Rule 21.

   Loggerhead Turtle v. County Council of Volusia County, 148 F.3d 1231, 1255 (11th Cir.

   1998); Datastrip International Ltd. v. Intacta Technologies, 253 F. Supp. 2d 1308, 1318; 2003

   U.S. Dist. LEXIS 4771 **26-27 (N.D. Ga., 2003). In Foman v. Davis, 371 U.S. 178, 182, 83

   S. Ct. 227 (1962) the Court stated:

         In the absence of any apparent or declared reason -- such as undue delay, bad
         faith, or dilatory motive on the part of the movement, repeated failure to cure
         deficiencies by amendments previously allowed, undue prejudice to the



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         opposing party by virtue of allowance of the amendment, futility of amendment,
         etc. –the leave sought should as the rules require, be “freely given.”

   See also: Hawkins v. Fulton County, 95 F.R.D. 88, 91; 1982 U.S. Dist. LEXIS 13809, ** 5

   (N.D. Ga, 1982) (joinder has been allowed more than two years after commencement of the

   action).

          24. There is no evidence here that Plaintiffs intend to cause undue delay or acted in

   bad faith or had a dilatory motive. The case has started, the discovery deadline is months

   away. Trial is not until next year 2018. The Defendant has been aware of Ms. Hernandez’

   claims from the time they were informally filed and the existence of those claims was made

   known to current Agency counsel at the initial meeting to discuss this case.

                                   Good Faith Consultation

          The undersigned has spoken to the Defendant’s attorney who indicated that Defendant

   opposes the motion and filing of the Second Amended Complaint.

          Wherefore, Plaintiffs request leave to file the attached Second Amended Complaint.

                                                     Respectfully submitted,

                                                     s/ Joseph D. Magri____
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                                                     Attorney for Plaintiff


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 30, 2017, I electronically filed the foregoing with
   the Clerk of the Court by using the CM/ECF system which will send a notice of electronic
   filing to:


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                                                /s/ Joseph D. Magri
                                                Joseph D. Magri




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